           Case 3:20-cv-01603-JAH-LL Document 1 Filed 08/18/20 PageID.1 Page 1 of 8


 I   Name:    hM-OJ \~be ~~~             o        o _        r,
                                                                                                                         _ ~bltC"
                                                                                                                    >..(\-:-
     Address:~\ ~'c- ~..::>L1                                                       ~
                                                                  .c,.___.~ f"'\   ~ - ' - - ' \--       ~<:>C .
 2                                        \   -OL ~'x...      t-'(.)   vv ·                          ·            , 1~

 3   Telephone Phone: u..v-. \ c , ~ ~
 4   Email:       tJ/A .
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 6
                                                                                                           Aug 18 2020
 7                                                                                              CLERK, U.S. DISTRICT COURT
                                                                                             SOUTHERN DISTRICT OF CALIFORNIA
 8                             UNITED STATES DISTRICT COURT                                  BY              s/ soniad         DEPUTY

 9                           SOUTHERN
                               .      DISTRICT OF CALIFORNIA
                                                   .



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11                                                                              '20CV1603 JAH LL
                                                            Case No.:         ·-=======::::::..._-
12                                                                           (assigned at time of filing)

13
                                        Plaintiff(s),
14                                                          COMPLAINT

15
16


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19
20 I.        RELATED CASES
21           a.      Do you have other Civil Case(s) in this or any other federal .court?
22                         13.Yes       • No                                                                                              I

23           b. . If yes, please list the case numbers here:
24
              ~\~ 's.e_ ~o c.. ?C\. Q.Q..x-" '.$-e_g..,v-Ct_ • \~Cos,

25   II.     STATEMENT OF CLAIM (Briefly state the facts ofyour case. Describe how                                                      .,.,

26           each defendant is involved, and tell what each defendant did to you that caused
27           you to file this suit against them. Include names of any other persoris involved,
28           dates, and places.)


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  1 III.   RELIEF YOU REQUEST (State exactly what you want the court to do for you.
 2         Do not use this space to state the facts ofyour claim.)
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 1 IV.       DEMAND FOR JURY TRIAL (Would you like a trial by jury on all claims
 2           pursuant to FRCP, Rule 38?)
 3                "'"Yes       • No
 4

 5   I declare under penalty of perjury that the foregoing is true and correct.
 6
 7
      m- \c-- '7-0 2-0
      Date

 8
 9                                            Printed Name

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